                                                                                Case 3:14-cr-00175-WHA Document 961 Filed 01/09/19 Page 1 of 4



                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5
                                                                          6                               IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9
                                                                         10   UNITED STATES OF AMERICA,
                                                                         11                                                               No. CR 14-0175 WHA
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.
                                                                         13                                                               ORDER TO SHOW CAUSE
                                                                              PACIFIC GAS AND ELECTRIC                                    WHY PG&E’S CONDITIONS
                                                                         14   COMPANY,                                                    OF PROBATION SHOULD
                                                                                                                                          NOT BE MODIFIED
                                                                         15                  Defendant.
                                                                                                                  /
                                                                         16
                                                                         17          In 2016, a jury convicted PG&E on six felony counts of knowingly and willfully

                                                                         18   violating safety standards and obstructing an investigation by the National Transportation

                                                                         19   Security Board arising out of the San Bruno explosion of a PG&E gas pipeline that killed eight

                                                                         20   and destroyed 38 homes. A corporation cannot go to prison, so the criminal judgment imposed

                                                                         21   the largest fine allowed by law and several conditions of probation. Recently, CAL FIRE has

                                                                         22   determined that PG&E caused eighteen wildfires in 2017, twelve of which CAL FIRE referred

                                                                         23   for possible criminal prosecution. (CAL FIRE continues its investigation into the more recent

                                                                         24   Camp Fire in Butte County in which 86 people lost their lives.)

                                                                         25          In order to protect the public from further wrongs by the offender, to deter similar

                                                                         26   wrongs by other utilities, and to promote the rehabilitation of the offender among other goals of

                                                                         27   18 U.S.C. §§ 3553(a)(1) and (a)(2), the Court proposes to add the following new conditions of

                                                                         28   probation pursuant to 18 U.S.C. § 3563(c):
                                                                              Case 3:14-cr-00175-WHA Document 961 Filed 01/09/19 Page 2 of 4



                                                                          1              1.      In light of PG&E’s history of falsification of inspection reports,
                                                                          2       PG&E shall, between now and the 2019 Wildfire Season, re-inspect all of its
                                                                          3       electrical grid and remove or trim all trees that could fall onto its power lines,
                                                                          4       poles or equipment in high-wind conditions, branches that might bend in high
                                                                          5       wind and hit power lines, poles or equipment, and branches that could break off in
                                                                          6       high wind and fall onto power lines, poles or equipment; shall identify and fix all
                                                                          7       conductors that might swing together and arc due to slack and/or other
                                                                          8       circumstances under high-wind conditions; shall identify and fix damaged or
                                                                          9       weakened poles, transformers, fuses and other connectors; and shall identify and
                                                                         10       fix any other condition anywhere in its grid similar to any condition that
                                                                         11       contributed to any previous wildfires. The trees and branches to be removed are
United States District Court
                               For the Northern District of California




                                                                         12       not limited to those within the distances prescribed by the California Public
                                                                         13       Resources Code but extend farther to any tree or branch posing the dangers
                                                                         14       described above. As used herein, the 2019 Wildfire Season means June 21, 2019,
                                                                         15       through the first region-wide rainstorm in November or December.
                                                                         16              2.      For each segment of its electrical grid, PG&E shall document the
                                                                         17       foregoing inspections and the work done and shall rate each segment’s safety
                                                                         18       under various wind conditions (from little wind to high wind). PG&E must
                                                                         19       designate one or more qualified engineers to make these safety determinations
                                                                         20       and the rating must be certified under oath by the engineer in writing. In light of
                                                                         21       PG&E’s history of false reporting, PG&E may not rely upon its earlier inspection
                                                                         22       reports as substitutes for the new inspections. PG&E shall follow all
                                                                         23       requirements of law as well as those in this order, shall follow all guidance
                                                                         24       provided by the Monitor, and shall be complete and truthful. If a power line
                                                                         25       happens to comply with all of the requirements of state law but nevertheless poses
                                                                         26       a safety issue under the circumstances, then the line may not be rated as safe until
                                                                         27       the safety issue is resolved.
                                                                         28


                                                                                                                            2
                                                                                Case 3:14-cr-00175-WHA Document 961 Filed 01/09/19 Page 3 of 4



                                                                          1                  3.      At all times during the 2019 Wildfire Season (and thereafter),
                                                                          2          PG&E may supply electricity only through those parts of its electrical grid it has
                                                                          3          determined to be safe under the wind conditions then prevailing. Conversely,
                                                                          4          PG&E must de-energize any part of its grid not yet rated as safe by PG&E for
                                                                          5          the wind conditions then prevailing until those conditions have subsided. For
                                                                          6          example, if Santa Ana winds of up to thirty miles per hour are expected in a given
                                                                          7          county and if PG&E has not yet rated those power lines as safe for such winds,
                                                                          8          then PG&E must de-energize those lines during the wind event and beforehand
                                                                          9          notify affected customers that those lines will be de-energized. In determining
                                                                         10          safety, PG&E may not take into account the need for reliability of service, the
                                                                         11          inconvenience to customers resulting from interruption in service, or its impact
United States District Court
                               For the Northern District of California




                                                                         12          upon PG&E’s revenues and profits. Reliability is important but safety must come
                                                                         13          first. Profits are important but safety must come first. Only safe operation will be
                                                                         14          allowed.
                                                                         15          These conditions of probation are intended to reduce to zero the number of wildfires
                                                                         16   caused by PG&E in the 2019 Wildfire Season. This will likely mean having to interrupt service
                                                                         17   during high-wind events (and possibly at other times) but that inconvenience, irritating as it will
                                                                         18   be, will pale by comparison to the death and destruction that otherwise might result from
                                                                         19   PG&E-inflicted wildfires. PG&E shall promptly advise law enforcement, hospitals and other
                                                                         20   emergency personnel and the public at large in its service area to consider arranging for back-up
                                                                         21   emergency generators as a hedge against interruption of power.
                                                                         22          The Monitor shall promptly spot-check the inspections (with field inspections of his
                                                                         23   own), promptly spot-check the safety ratings, and otherwise monitor compliance with this order,
                                                                         24   providing a monthly report to the Court that plainly and prominently identifies any weaknesses
                                                                         25   in PG&E’s compliance. PG&E shall immediately notify Probation and the Monitor of any
                                                                         26   violations.
                                                                         27
                                                                         28


                                                                                                                               3
                                                                                Case 3:14-cr-00175-WHA Document 961 Filed 01/09/19 Page 4 of 4



                                                                          1          By NOON ON JANUARY 23, 2019, all parties are ORDERED TO SHOW CAUSE why PG&E’s
                                                                          2   conditions of probation should not be modified as stated above. A hearing on this matter will be
                                                                          3   held on JANUARY 30, 2019, AT 9:00 A.M.
                                                                          4          PG&E and the government shall transmit a copy of this order to the California Public
                                                                          5   Utilities Commission. If the CPUC (or the California legislature) comes up with a better plan for
                                                                          6   insuring the safety of California before the 2019 Wildfire Season, the Court will consider
                                                                          7   conforming its proposed conditions to any such plan. The CPUC is hereby invited to comment
                                                                          8   by JANUARY 25, and to attend the hearing on JANUARY 30.
                                                                          9          PG&E and the government shall also transmit a copy of this order to CAL FIRE. The
                                                                         10   Court requests input from CAL FIRE concerning its investigation into the specifics of wildfires
                                                                         11   caused by PG&E and on what operating restrictions going forward might be adopted by the
United States District Court
                               For the Northern District of California




                                                                         12   Court as a condition of probation to maximize the safety of California. CAL FIRE is hereby
                                                                         13   invited to the hearing on JANUARY 30, and is requested to file a public statement by JANUARY
                                                                         14   25.
                                                                         15
                                                                         16          IT IS SO ORDERED.
                                                                         17
                                                                         18   Dated: January 9, 2019.
                                                                                                                                      WILLIAM ALSUP
                                                                         19                                                           UNITED STATES DISTRICT JUDGE
                                                                         20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28


                                                                                                                              4
